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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

COLBY ALEXANDER FRANK,
                 Plaintiff,
      v.
                                             Case No.: 6:23-cv-2043-JSS-RMN
RANDALL ADAM FINE (a/k/a RANDY
FINE) in his official capacity as
                                             PLAINTIFF’S THIRD AMENDED
Member of the Florida House of
                                             COMPLAINT
Representatives for the 33rd
Congressional District of the State of
                                             JURY TRIAL DEMANDED
Florida; and in his individual
capacity,
                                                (1) DEPRIVATION OF CIVIL
                Defendant.                          RIGHTS / FIRST AMENDMENT
                                                    RETALIATION, 42 U.S.C. § 1983
                                                (2) DEFAMATION
                                                (3) INVASION OF PRIVACY



      Plaintiff Colby Alexander Frank seeks this court’s leave to proceed in forma

pauperis and hereby files this Third Amended Complaint, alleging as follows:

                                 INTRODUCTION

      1.      The freedoms to speak and to publish are guaranteed by our

Nation’s founding document. U.S. CONST. amend. I; Near v. Minnesota, 283 U.S.

697 (1931).

      2.      Censorship is the antithesis of free speech. “Censorship reflects a

society’s lack of confidence in itself. It is a hallmark of an authoritarian regime.”

Ginzberg v. United States, 383 U.S. 463 (1966) (Potter, J., Dissenting). For centuries,
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the U.S. Supreme Court has held steadfastly to the principle that the remedy to

unwanted or disagreeable speech is not censorship, but rather, more speech. See,

e.g., Whitney v. California, 274 U.S. 357 (1927) (Brandeis, J., concurring) (“If there

be time to expose through discussion [] falsehood and fallacies, to avert the evil

by the processes of education, the remedy to be applied is more speech, not

enforced silence.”).

      3.     It is “settled law that state officials may not retaliate against

associations and individuals for their exercise of First Amendment rights.”

Georgia Ass'n of Educators v. Gwinnett Cnty. Sch. Dist., 856 F.2d 142, 145 (11th Cir.

1988). Even small infractions may provide ample grounds for civil enforcement.

“The effect on freedom of speech may be small, but since there is no justification

for harassing people for exercising their constitutional rights it need not be great

in order to be actionable.” Bart v. Telford, 677 F.2d 622, 625 (7th Cir 1982) (Posner).

      4.     The facts that follow set forth a powerful instance of a State

Government official’s efforts to silence speech which he finds disagreeable.

Representative Randy Fine, a Florida State Legislator, has engaged in a pattern of

retaliatory conduct against Plaintiff with the stated intention of deterring

Plaintiff from exercising his First Amendment rights to speak and publish freely.

Representative Fine has engaged in retaliatory acts both within the scope of his

official legislative role, and outside any legitimate legislative function. Those acts

include sharing defamatory remarks about Plaintiff on social media, authoring


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and co-introducing legislation with a stated intention of targeting Plaintiff’s

speech, calling and instructing law enforcement agencies to arrest individuals

associated with plaintiff’s literature, and accusing Plaintiff of being a criminal

and terrorist while publishing his name and photograph—when he is not and

never has been a criminal or terrorist. These acts, set forth in detail below, were

all taken with the express purpose of intimidating Plaintiff into silence, and

chilling the expression of his First Amendment rights.

      5.     In this Third Amended Complaint, Plaintiff sets forth additional

facts supporting his claims and asks that the Court consider all new facts and

circumstances herein alleged in evaluating whether this Complaint has asserted a

claim for relief sufficient to overcome dismissal under 28 U.S.C. 1915(e)(2)(B)(ii).

As a claimant proceeding pro se and seeking leave to file in forma pauperis,

Plaintiff also requests that the Court adopt the most liberal construction of this

Complaint, in addition to taking all stated facts as true consistent with generally

recognized federal pleading standards.

                                     PARTIES

      6.     Plaintiff COLBY ALEXANDER FRANK is a natural-born citizen of

the State of Florida residing in the Middle District of Florida.

      7.     Defendant RANDALL (“RANDY”) ADAM FINE is a Member of the

Florida House of Representatives for the 33rd Congressional District. On

information and belief, Defendant FINE is domiciled in the district.


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                          JURISDICTION AND VENUE

        8.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this

case arises under the Constitution and laws of the United States. While joining

his common law claims for tort damages under Florida state law, Plaintiff seeks

to remedy the wrongful deprivation of his constitutional rights through a federal

right of action afforded by 42 U.S.C. § 1983.

        9.    This Court also has jurisdiction pursuant to the specific grant of 28

U.S.C. § 1343 because Plaintiff seeks to recover damages for the deprivation of

his Constitutional rights. The exercise of this Court’s jurisdiction is consistent

with Article III, Section 2 of the U.S. Constitution. See U.S. CONST. Art. III, Sec.

2, cl. 1.

        10.   This Court has jurisdiction to consider Plaintiff’s state law claims

properly joined under Fed. R. Civ. P. Rule 8 pursuant to 28 U.S.C. § 1367. The

common law torts alleged were committed in furtherance of and conjunction

with Defendants’ violations of federal law, and the federal issues predominate

over any state law issues that may be raised, which do not raise novel nor

complex issues of state law.

        11.   Venue is proper in the Middle District of Florida because a

substantial part of the events and transactions giving rise to Plaintiff’s claims

occurred within the forum state and within the Middle District of Florida. See 28

U.S.C. §§ 1441, 1443.


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                            STATEMENT OF FACTS

      12.    Since 2020, Plaintiff has engaged in a campaign of literature

distribution in association with a group known as the “Goyim Defense League”

(GDL). The GDL, which parodically stylizes its name and logo in the fashion of

the Anti-Defamation League (“ADL”), engages in various Constitutionally

protected flyer distribution and banner-display activities in the District and

across the United States. Through their various First Amendment activities,

Plaintiff and the GDL seek to bring public awareness to their sincerely held

beliefs on topics spanning American history, politics, religion, and government.

      13.    Plaintiff’s speech is controversial. Plaintiff and the GDL have

garnered media coverage of their activities in nearly all 50 States. This is because

Plaintiff’s speech often arouses the most personal and intimate sensibilities of his

fellow citizens—especially those sympathetic to the American Jewish population;

Some of whom have accused plaintiff of being “antisemitic.” See, e.g., Anti-

Defamation League. “Backgrounder: Goyim Defense League.” (July 5, 2023)

(“GDL espouses vitriolic antisemitism and white supremacist themes”).

      14.    Plaintiff engages in political and religious commentary by sharing

flyers with members of his community. Each flyer Plaintiff has distributed

contains a URL where the reader can navigate to a website to view the same or

similar flyers. See <GTVflyers.com>.




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      15.    Since 2020, Plaintiff has engaged in the random distribution of flyers

throughout the District. Plaintiff has done so lawfully and without malicious

intent. Indeed, every flyer Plaintiff has ever distributed includes the printed

words “these flyers were distributed randomly without malicious intent.”

      16.    While some of the flyers plaintiff distributes are more controversial

than others, Plaintiff frequently distributes—and plans to continue to

distribute—flyers containing no vulgar language or images. Although the

content of the flyers is sometimes sensational, Plaintiff’s speech does not contain

any fighting words or calls to action, but purports to include statements of fact,

often citing mainstream news headlines. The flyers provide information on

topics ranging from the history of the trans-Atlantic slave-trade; to gun control;

abortion; immigration; economics; feminism; the JFK assassination; the Israel-

Palestine conflict; and the relationship between religion and American politics.

As is relevant to this case, some of the flyers are openly critical of Jewish

influence in American public life.

      17.    Defendant State Representative Randy Fine harbors animus toward

Plaintiff and his speech. But don’t take Plaintiff’s word for it, take Representative

Fine’s words: “We’ll never defeat antisemitism with a******* like you in our state.

You’re scum.” “The same pathetic loser, Colby Frank… jumped me two weeks

ago.” Representative Fine has also called Plaintiff an “antisemitic terrorist.”




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      18.    Because he disagrees with the speech in Plaintiff’s flyers,

Representative Fine initiated a targeted campaign of retaliation with a stated

intent of prohibiting Plaintiff from distributing them. It began with non-

legislative activity. First, Representative Fine sought to intimidate Plaintiff into

silence by harassing him online. Representative Fine accused Plaintiff of having

committed a violent felony. Not True. Then, Representative Fine accused

Plaintiff of burglarizing his office. Also false. He also referred to Plaintiff by

name and image, holding a press conference with the Volusia County Sheriff’s

Office while intimating that he would pass legislation to put Plaintiff in jail for

his speech. Then, Representative Fine took official, legislative action. He

authored and co-introduced a law, H.B. 269, seeking to classify Plaintiff’s flyers

as “litter.” His stated intention was to outlaw Plaintiff’s literature distribution by

classifying his flyers as “litter” under Florida’s anti-littering statute. See FL Stat.

403.413, Florida Litter Law.1 Even leaving the legislation aside, Representative




1 It bears noting that Plaintiff was actually arrested and jailed in connection with

a protected literature distribution campaign. Plaintiff was filming the arrest of a
friend who purportedly violated Florida Litter law, as interpreted by one State
jurisdiction, when the friend distributed the same literature as Plaintiff onto
private residences. But Plaintiff is not basing his retaliation claim on that event
alone. Rather, Plaintiff is asserting that Representative Fine’s cumulative conduct
–with or without his conduct as co-author and co-introducer of HB 269—is
sufficient to state a claim. See Bennett v. Hendrix, 423 F.3d 1247, 1254 (11th Cir.
2005) (“A plaintiff suffers adverse action if the defendant’s allegedly retaliatory
conduct would likely deter a person of ordinary firmness from the exercise of
First Amendment rights.”)

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Fine’s retaliatory conduct taken outside the scope of his lawmaking role violated

Plaintiff’s rights. The pertinent facts supporting Plaintiff’s claims are as follows:

I.    Representative Fine engages in an overwhelming pattern of targeted
      retaliation against Plaintiff.

            A. Representative Fine engaged in retaliatory conduct outside the
               regular course of the legislative process.

      19.      Representative Fine undertook a campaign to threaten adverse

consequences for individuals distributing Plaintiff’s religious and political

literature. As part of that campaign, Representative Fine made several knowingly

false defamatory statements about Plaintiff, both online and in public. He took

these retaliatory actions against Plaintiff outside the regular course of legitimate

legislative process. Those acts are set forth as follows.

                  1. Representative Fine made threatening statements about
                     Plaintiff’s literature distribution on February 27, 2023 with
                     the intention of deterring plaintiff from engaging in
                     protected speech.

      20.      On February 27, 2023, Representative Fine delivered remarks

alongside the Volusia County Sheriff Michael J. Chitwood. There, Defendant Fine

announced his intention to use legislation to arrest and imprison Plaintiff for his

flyer distribution activities.

      21.      At the press conference, Sheriff Chitwood discussed his office’s

desire to “crush a radical group of cowardly scumbags,” referring specifically to

“GDL members.” Sheriff Chitwood described a literature distribution campaign



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involving Plaintiff’s flyers. In Sheriff Chitwood’s words, “this is not about free

speech. This is about violence.” With Representative Fine standing by, Sherriff

Chitwood continued, “Clearly I don’t see anything that these people can say this

is First Amendment. This is nothing but pure, pure, pure, evil.”

      22.    During the press conference, Sheriff Chitwood introduced the name

and photograph of individuals who distributed Plaintiff’s literature the weekend

before, including Plaintiff.




      23.    Referring to the February 27, 2023 press conference, Representative

Fine stated “I was honored to join Volusia County Sheriff Chitwood yesterday

for an extraordinary press conference calling these people what they are –




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 scumbags – and committing to pass HB 269 which will put them where they

 belong – in prison.”

       24.    During his remarks at the press conference, Representative Fine

 stated, “Now we’re doing something about this in Florida. We have a Bill, H.B.

 269, that will make clear that while you have the right to be an idiot, and you

 have the right to be a Nazi, and you have the right to walk down the street

 whenever you want and say whatever you want, that when your speech turns

 into conduct, that is where we draw the line. There is no First Amendment right

 to litter… in Florida, if you do that, you’re going to go to jail. And you’re going

 to go to jail for a very long time.”

       25.    Representative Fine stated, “I’m proud that all of my colleagues up

 here are co-sponsoring this Bill, because we’re going to do something about it.”

       26.    Representative Fine stated, “The fight is coming. With people like

 my colleagues, with people like Sherriff Chitwood, we’re going to let these

 people know: You’re not welcome here in Florida.”

       27.    Representative Fine stated, “There is no First Amendment right to

 conduct. There is a First Amendment right to speech. And the things that we’re

 targeting in the Bill are not speech.”

       28.    Representative Fine stated, “If you want to litter, it’s a crime right

 now. But if you litter and your motivation is a hate crime, it is a third-degree

 felony and you will spend five years in jail.”


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       29.    Representative Fine stated, “We are going to end this in Florida.

 We’re going to stop it.”

       30.    Representative Fine stated, “What has changed today, as you can see

 here, is they don’t wear masks. They put it on the internet. They are proud of

 these beliefs.”

       31.    Representative Fine stated, “One of the ideas we came up with with

 the Sherriff today, he asked us, I think the Bill right now will go into effect on

 October first, he suggested why don’t you make it upon signature, and I think

 we’ll be looking at amending the Bill so as soon as we can get it passed, and as

 soon as the Governor were to sign it, then it would become law immediately.”

       32.    Representative Fine stated, “I will tell you what I am most looking

 forward to. I can’t wait to see if those cowards want to show up and stand in

 front of me in Tallahassee. That’s what I’m looking forward to.”

       33.    Referring to the individuals Sheriff Chitwood listed by name and

 photograph, including Plaintiff, Representative Fine stated, “They don’t scare

 me, I’m not afraid of them and we’re coming for them.”

       34.    Taken together, Representative Fine’s statements threatened that

 adverse action—namely prosecution and jailing—would imminently follow for

 Plaintiff and for those who engage in distributing Plaintiff’s protected literature.

 At the time Representative Fine delivered the remarks on February 27, 2023 and

 today, Plaintiff feared that adverse action would imminently follow were he to


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 continue to engage in the distribution of his protected literature. Representative

 Fine’s conduct and remarks at the February 27, 2023 event would deter a person

 of ordinary firmness from the exercise of First Amendment rights in the form of

 literature distribution. They fall outside the regular course of legitimate

 legislative process.

                 2. Representative Fine threatened jail time in response to an
                    unrelated flyer on April 22, 2023, with the intention of
                    deterring plaintiff from engaging in protected speech.

       35.    On April 22, 2023, Representative Fine received a political flyer on

 his driveway. Plaintiff was not the creator or distributor. In a Facebook post,

 Representative Fine referred to the person who allegedly delivered the flyer,

 stating “he won’t be able to do this much longer. Once HB 269 is signed by

 Governor DeSantis, he will get five years in prison to consider the downside of

 trespassing and littering hate speech.” The post evinces Representative Fine’s

 pattern of animus toward political flyers—including a penchant for publishing

 personal information with the intent that third parties harass the distributor.




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                  3. Representative Fine manufactured a false account of an
                     interaction with Plaintiff on October 4, 2023 with the
                     intention of deterring plaintiff from engaging in protected
                     speech.

       36.    On October 4, 2023, Plaintiff sought to speak with Representative

 Fine outside the Brevard Federated Republican Women’s monthly meeting,

 where Representative Fine was scheduled to appear as the keynote speaker.

 Because he was concerned about being arrested, prosecuted, or jailed for

 continuing to distribute his religious and political literature, Plaintiff intended to

 ask Representative Fine about his role in drafting Florida House Bill 269, and

 why Representative Fine threatened to criminalize his First Amendment

 activities by classifying his religious and political flyers as litter.

       37.    On October 4, 2023, Plaintiff approached defendant Fine with a

 GoPro camera in one hand, and a stapled packet of his political and religious

 literature in the other hand.

       38.    As Representative Fine approached the venue, Plaintiff asked “Is

 that Randy Fine? Mr. Fine?”

       39.    Representative Fine acknowledged Plaintiff, and Plaintiff identified

 himself: “Colby Frank, Goyim Defense League.”

       40.    Plaintiff then invited Representative Fine to debate with him

 regarding the literature he was carrying, and to discuss a range of topics relating

 to politics and religion.



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        41.    Representative Fine scoffed at Plaintiff, and responded by calling

 Plaintiff “scum,” “a f****** Nazi” and other terms.

        42.    Representative Fine exclaimed, “you’re lucky I don’t punch you in

 the f****** face.”

        43.    Representative Fine said that “antisemitism” could never be

 defeated with “a******* like you in our state.”

        44.    Representative Fine responded to Plaintiff’s final debate invitation

 by stating “you’re scum” and “you’re beneath me.” He then stormed off.

        45.    That same day, October 4, 2023, Representative Fine falsely claimed

 before an audience of Republican women that Plaintiff had assaulted him prior to

 the speaking engagement. Representative Fine also falsely stated to the press that

 Plaintiff “jumped” him in the parking lot before the event.

        46.    Plaintiff’s hands were occupied throughout the entire October 4

 encounter. At no point did Plaintiff show signs of aggression.

        47.    Referring to the interaction, Representative Fine falsely stated on

 Twitter, “I just got jumped by a Nazi with a camera walking into a widely

 publicized speaking event just now. I’m fine; not sure today will go down as one

 of his better days.”




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       48.   Representative Fine falsely stated to Florida Today, which published

 an article with his statement, that Plaintiff had “unleash[ed] a stream of invective

 about Jews and wanted to know why I wouldn't debate him, or whatever.” In

 truth and in fact, Plaintiff did not use those words at any time during the

 interaction, which was video recorded. To the contrary, Plaintiff represented that

 he was willing to “cease and desist” from sharing any more flyers if

 Representative Fine would agree to have a gentlemanly debate with him

 regarding the content of the flyers. Representative Fine later repeated the

 knowingly false statement that he had been “jumped” by Plaintiff both on

 Twitter and to Florida Today.




                             [image appears on next page]




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       49.    Taken together, Representative Fine’s statements during and after

 the October 4, 2023 interaction threatened that adverse action would imminently

 follow if Plaintiff continued to exercise his speech rights. Specifically,

 Representative Fine’s threat of assault by punching Plaintiff in the face would

 deter a person of ordinary firmness from exercising their First Amendment

 rights. At the time of Representative Fine’s statements on October 4, 2023 and


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 today, Plaintiff feared that adverse action would imminently follow for engaging

 in the distribution of his protected literature. And indeed, adverse action did

 follow, in the form of defamatory remarks about Plaintiff and a threatened

 assault against Plaintiff.

                  4. Representative Fine made per se defamatory statements
                     about Plaintiff on October 4, 2023 with the intention of
                     deterring plaintiff from engaging in protected speech.

       50.    Following Plaintiff’s interaction with Representative Fine on October

 4, Representative Fine made additional per se defamatory and knowingly false

 statements about Plaintiff.

       51.    Representative Fine followed up on his previous false statement

 accusing Plaintiff of “jump[ing]” him. As if to quell concern, he stated on Twitter,

 “I got pictures.” Representative Fine then shared a photograph of Plaintiff

 captioned, “Here’s a pic of the Nazi who jumped me.” The image was viewed

 over 28,000 times on Twitter alone. Representative Fine further boasted, “clearly,

 he couldn’t take it one on one.” For what it’s worth, Plaintiff has no interest in a

 physical altercation with Representative Fine, or “tak[ing] it one on one.”




                               [image appears on next page]




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       52.   Representative Fine falsely stated on Twitter that Plaintiff was being

 prosecuted for a violent felony. This knowingly false and per se defamatory

 statement was viewed over 4,900 times.




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       53.    Mr. Fine’s statement is at best made with reckless disregard for the

 truth or falsity of the statement, because the charging language associated with a

 dismissed count against Plaintiff indicated obstructing arrest “without violence.”

       54.    Representative Fine’s knowingly false and defamatory statements

 made on October 4, 2023, would deter a person of ordinary firmness from

 exercising their free speech rights, for fear of being defamed and harassed online.

                 5. Representative Fine made false defamatory statements
                    about Plaintiff on December 1, 2023 with the intention of
                    deterring plaintiff from engaging in protected speech and
                    accessing the courts.

      55.     On December 1, 2023, Representative Fine falsely accused Plaintiff of

 burglarizing his office, referring to Plaintiff by name, as well as calling Plaintiff

 an “antisemitic terrorist.”




       56.    In truth and in fact, on December 1, 2023, Plaintiff was attempting to

 provide Representative Fine with notice of this lawsuit. Plaintiff did not



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 knowingly engage in any unlawful behavior, nor did he have the intent to

 engage in any unlawful behavior. Representative Fine’s intimation that Plaintiff

 attempted to “break in” to Representative Fine’s office is an allegation of criminal

 activity that constitutes defamation per se.

       57.    Representative Fine’s allegation that Plaintiff is a “terrorist” is

 likewise false on its face, and an actionable defamatory statement.

                 6. Representative Fine made threatening statements about
                    Plaintiff’s speech on December 19, 2021 with the intention
                    of deterring plaintiff from engaging in protected speech.

       58.    Plaintiff also participates in displaying banners in public places

 expressing his political and religious beliefs. On December 19, 2021, Plaintiff

 participated in displaying a political slogan on an Interstate-95 overpass.

 Representative Fine, communicating his personal dislike for Plaintiff’s speech,

 called for violence in response to the display. Representative Fine stated “Kyle

 should shoot these assholes” with accompanying reshared language “This is

 sickening!!” The statement was an apparent reference to the culturally divisive

 Kyle Rittenhouse incident, which was circulating in the press around that time.

       59.    Representative Fine’s remarks toward Plaintiff on December 19,

 2021 would deter a person of ordinary firmness from the exercise of First

 Amendment rights in the form of literature distribution and displaying banners

 with political slogans near public roadways.




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                7. Representative Fine participated in directing the non-profit
                   Anti-Defamation League and law enforcement agencies to
                   monitor and arrest Plaintiff and other First Amendment
                   activists for engaging in protected literature distributions.

       60.   In June 2023, the City of Oakland, Florida decided not to charge a

 man accused of distributing a flyer with the words “white lives matter.” Oakland

 Police Chief Darron Esan stated that “while the messages being sent were

 offensive to many, there were no attempts at intimidation or threats being made.

 Making an arrest in this situation would not have fit within the guidelines of

 state statute.” Representative Fine requested an explanation from Chief Esan and

 the State Attorney as to why no charges were filed. On information and belief,

 Representative Fine stated to Chief Esan “We passed the law. We expect you to

 use it.” Stacie L. Quinn, FCRM, the Director of Police Administration for the City

 of Oakland, confirmed that Representative Fine called Chief Darron Esan, and

 that the two exchanged email communications shortly following the incident.

       61.   Sheriff Chitwood also commented on the Oakland incident, stating,

 “I would employ their leadership to research house bill, 269 because they

 should’ve been charged.”2 Apparently, based on Representative Fine’s remarks

 at the February 27, 2023 press conference (or some other conversation) Sheriff



 2 See Puglisi, David. “Florida police department under scrutiny, accused of not

 enforcing a new law on antisemitism.” FOX 35. June 13, 2023 available at <
 https://www.fox35orlando.com/news/oakland-pd-under-scrutiny-from-
 officials-who-believe-they-are-not-enforcing-a-new-on-antisemitism>

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 Michael J. Chitwood of the Volusia County Sheriff’s office had developed a belief

 that political flyers—like Plaintiff’s literature—could be classified as “litter” and

 that individuals similar to Plaintiff could be lawfully arrested under Florida

 Littering law for engaging in literature distribution activities.

       62.    Anti-Defamation League Florida Senior Associate Regional Director

 Yael Hershfield provided remarks at the same February 27, 2023 Volusia County

 Sherriff’s Office press conference where Representative Fine announced his plan

 to pass H.B. 269 and use H.B. 269 to unlawfully arrest and imprison Plaintiff and

 other activists for engaging in Constitutionally-protected speech activities.

       63.    On information and belief, Representative Fine directed Ms.

 Hershfield and Sheriff Chitwood on February 27, 2023 to monitor Plaintiff’s

 protected literature distributions, and to arrest individuals engaged in the

 distribution of Plaintiff’s protected First Amendment literature—just like he did

 with Oakland Police Chief Esan.

       64.    On or about January 23, 2024, the Anti-Defamation League

 produced a document identifying Plaintiff by name and photograph, while

 describing a literature distribution activity that Plaintiff was planning for the

 weekend of February 17—18, 2024.

       65.    On information and belief, the Anti-Defamation League shared this

 document with law enforcement personnel including the Volusia County

 Sherriff’s Office and the Palm Beach County Sheriff’s Office (the document states


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 “FOR INTERNAL LAW ENFORCEMENT USE ONLY”). The document further

 states “Do not distribute without permission from the Anti-Defamation League.”

       66.   The document falsely communicated to law enforcement personnel,

 including the Volusia County Sherriff’s Office, that Plaintiff was planning an

 “extremist event” at the 2024 Daytona 500:




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       67.     In truth and in fact, Plaintiff initiated a fundraising campaign on the

 fundraising website GiveSendGo that includes the following description for the

 February 17—18 event:

       In today’s increasingly hostile world against Whites&Christians it is
       important to educate our own on the current situation. This campaign is to
       assist with funding of white Civil Rights activities. Most activities will
       include educational hand to hand distributions of religious and political
       literature with intent to enlighten our otherwise lost folk and bring an end
       to the darkness that has a grip over this nation. Other activities include
       inviting political and other influential figures to debate, public speaking,
       and campaigning. All proceeds from this campaign will go directly to the
       activists on the ground equally after each event. Printer ink, paper, fuel,
       time off work, etc are all costs incurred by these brave and heroic men.
       Support your first amendment rights!

 See <https://www.givesendgo.com/Whitecivilrights>

       68.     Viewing a document addressed to law enforcement that accuses one

 of planning an extremist event, when the event is actually a peaceful literature

 distribution, would deter a person of ordinary firmness from the exercise of First

 Amendment rights by following through with that literature distribution. This is

 especially so when the organization’s senior official appeared alongside State

 Representative Fine, and communicated her support for his campaign to arrest

 and jail demonstrators who may distribute the protected literature in question.

             B. Representative Fine engaged in retaliatory conduct within the
                scope of his role as a State Legislator.

       69.     Representative Fine co-authored and co-introduced Florida House

 Bill 269 (2023). See FL Stat 403.413(6)(a)(1)-(2). Exhibit A.



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       70.   In relevant part, the bill adds a hate-crime enhancement to Florida

 littering law. In short, the Bill enhances punishment for persons “dumping litter”

 on private property for non-commercial purposes when the “litter” contains

 “intimidating or threatening” content. Under the new law, if the offender

 deposits “litter” onto private property “for the purpose of intimidating or

 threatening the owner, resident, or invitee” of the property, then they are guilty

 of a misdemeanor. Without the “intimidating or threatening” content however,

 the person would otherwise be guilty of only a noncriminal infraction and civil

 penalty.

       71.   On April 27, 2023 the Jewish Telegraphic Agency reported that “The

 law was written specifically to address the kinds of activities the Goyim Defense

 League regularly engages in.”3

       72.   Acting as House Whip in the Florida Legislature, Representative

 Fine campaigned for H.B. 269, and was present alongside Governor Ron

 DeSantis when H.B. 269 was signed into law on foreign soil. Representative Fine

 attended a press conference on February 27, 2023 to support the Bill, with the

 stated intention to arrest and imprison his detractors, where Plaintiff was

 specifically mentioned by name—and with his picture shown as if he is a


 3 See Lapin, Andrew. “A Florida sheriff is on the warpath against neo-Nazi

 ‘scumbags’ who want him dead.” Jewish Telegraphic Agency. April 27, 2023
 available at <https://www.jta.org/2023/04/27/united-states/a-florida-sheriff-
 is-on-the-warpath-against-neo-nazi-scumbags-who-want-him-dead>

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 criminal when he is not and has never been. Representative Fine himself stated,

 on live television, alongside state police officers that Plaintiff (and others

 engaging in protected literature distribution) belong in prison for actions that

 were not criminal until Representative Fine himself campaigned to make those

 actions criminal. He did so because he disagreed with the content in Plaintiff’s

 political and religious literature. Given this context, Representative Fine’s

 conduct in drafting, co-introducing, and lobbying for the passage of H.B. 269 in

 his official capacity as State Representative and House Whip would deter a

 person of ordinary firmness from exercising their First Amendment right to

 distribute literature, for fear of the adverse consequences of arrest, prosecution,

 and jailing. The fear is reasonable because those consequences actually occurred.

                                CLAIMS FOR RELIEF

 COUNT 1: First Amendment Retaliation, 42 U.S.C. § 1983.

       73.     Defendant Representative Randy Fine engaged in a pattern of

 retaliatory conduct against Plaintiff with the stated intent and effect of depriving

 Plaintiff of his rights to speak and publish literature in violation of the First

 Amendment of the United States Constitution.

       74.    Defendant Fine’s retaliatory conduct adversely affected Plaintiff’s

 protected speech by depriving him of the right to distribute and publish his

 literature at private residences and public events, under threat and intimidation

 of jail, imprisonment, defamation, and the invasion of his privacy. Defendant


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 Fine’s retaliatory actions were the cause of the adverse effect on Plaintiff’s rights.

 See Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005).

       75.    The result and effect of Representative Fine’s conduct was the actual

 deprivation of Plaintiff’s right to speak and publish his protected literature,

 specifically to distribute his flyers containing political and religious literature at

 private residences and at public events within the District.

       76.    To alleviate any concerns the Court has previously expressed

 relating to applicable Eleventh Circuit precedent respecting shotgun pleadings,

 Plaintiff sets forth below all paragraphs that specifically support his claims for

 First Amendment retaliation pursuant to Section 1983. In listing these numbered

 paragraphs, Plaintiff notes the Eleventh Circuit’s guidance that a Plaintiff

 asserting a claim for First Amendment retaliation must allege facts giving rise to

 a plausible inference that Defendant was subjectively motivated to engage in the

 adverse action because of Plaintiff’s protected speech. See Smith v. Mosley, 532

 F.3d 1270, 1278 (11th Cir. 2008). Because Defendant Fine engaged in a wide-

 ranging campaign of retaliation and harassment against Plaintiff in response to

 his protected speech, the numbered paragraphs supporting Plaintiff’s Count 1

 are numerous.

       77.    Representative Fine engaged in First Amendment retaliation by

 acting under color of state law, through acts that occurred outside the regular

 course of the legislative process. ¶¶ 19—60, 63.


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       78.    Representative Fine engaged in First Amendment retaliation by

 acting under color of state law, within the regular course of his official role as a

 Florida State Legislator by co-authoring and co-introducing Florida House Bill

 269 (2023). ¶¶ 19—35; 60; 69—72.

       79.    Plaintiff prays for $4,500,000 in damages to remedy Defendant’s

 First Amendment retaliation and the resulting deprivation of Plaintiff’s

 Constitutional rights.

 COUNT 2: Defamation

       80.    Defendant Fine made statements about Plaintiff that were

 knowingly false, reckless, or some combination thereof.

       81.    Defendant Fine issued a public statement claiming with actual

 malice that Plaintiff has been prosecuted for a “violent felony,” where the public

 record demonstrates that Plaintiff has been arrested for obstructing arrest

 “without violence” and for a nonviolent misdemeanor. Defendant Fine’s

 statement falsely accusing Plaintiff of criminal misconduct constitutes

 defamation per se. ¶¶ 52—53.

       82.    Defendant Fine issued a public statement claiming with actual

 malice that Plaintiff attempted to burglarize his office, while describing Plaintiff

 as a “terrorist.” Defendant Fine’s statements accusing Plaintiff of criminal

 misconduct constitute defamation per se. ¶¶ 55—57.




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         83.   Defendant Fine issued a public statement claiming with actual

 malice that Plaintiff assaulted him on October 4, 2023. Defendant Fine’s

 statement accusing Plaintiff of criminal misconduct constitutes defamation per se.

 ¶¶ 45—48, 51.

         84.   Defendant Fine also failed to make any inquiry or proper

 investigation prior to publishing the per se defamatory statements of false fact

 which constitutes actual malice and reckless abandon. See Herbert v. Lando, 441

 US 153 (1979).

         85.   There also exists between Plaintiff and Defendant “rivalry, ill will, or

 hostility between the parties, facts tending to show a reckless disregard of the

 plaintiff's rights.” Id.

         86.   Plaintiff prays for $4,000,000 in compensatory damages to remedy

 Defendant Fine’s unlawful defamation.

 COUNT 3: Invasion of Privacy

         87.   Defendant Fine wrongfully and unlawfully appropriated Plaintiff’s

 image and likeness, shared and published photos of Plaintiff in connection with

 false defamatory statements that Plaintiff had committed a violent crime, and

 promoted the dissemination of that image alongside defamatory information to

 various media outlets in the District and State. ¶¶ 18, 22—33, 48, 51—52. He did

 so for personal gain, including to promote support for his political campaign.

 Ibid.


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           88.      Plaintiff prays for $1,000,000 in compensatory damages to remedy

 Defendant Fine’s unlawful appropriation of Plaintiff’s name and likeness, which

 constitute an invasion of Plaintiff’s privacy at common law.



 WHEREFORE Plaintiff Colby Alexander Frank respectfully requests the

 following relief:

    i)           Entry of judgment for damages against Defendant in the aggregate

                 amount of $9,500,000, plus punitive damages;

    ii)          Costs, interest, and reasonable attorneys fees;

    iii)         Any such other relief as the Court deems just and proper.




 Respectfully submitted this July 18, 2024.

                                                                   /s/ Colby Alexander Frank

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